EXHIBIT 3
 (FILED: NEW YORK COUNTY CLERK 04/21/2017 02:43 pM)                                                                                     INDEX NO. 651947/2016
  NYSCEF DOC. NO. 61
                                                                                                                                RECEIVED NYSCEF: 04/21/2017
                                  SUPREME COURT OF THE STATE OF NEW YORK
                                             NEW YORK COUNTY

                    PRESENT: HON. CAROL R. EDMEAD                                                                                              35
                                              J.S.C. J. .                                                                          PART ----
                                                      ustice
                            - -    - -
                        Index Number: 651947/2016
                        CHU, MEI K.                                                                                                INDEX N O . - - - - - -
                        VS.
                        CHINESE-AMERICAN PLANNING
                                                                                                                                   MOTION DATEc;2,
                                                                                                                                                     I
                                                                                                                                                         /.2'f   /t 7
                        SEQUENCENUMBER:001                                                                                         MoTioN sEa. No.       D o 1 ..r ooJ-
                        DISM ACTION/INCONVENIENT FORUM


                    The following papers, numbered 1 to _ _ , were read on this motion t o / f o r - - - - - - - - - - - - - - -
                    Notice of Motion/Order to Show Cause - Affidavits - Exhibits                                                   I No(s)._ _ _ _ __
                    Answering Affidavits - E x h i b i t s - - - - - - - - - - - - - - - - - -                                     I No(s). - - - - - -
                    Replying Affidavits _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                   1No(s). - - - - - -
                   Upon the foregoing papers, It is ordered that this motion Is



                                    Motions sequence 001 and 002 are consolidated for joint disposition as follows:

w                              In accordance with the accompanying Memorandum Decision, it is hereby
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                               ORDERED that the motion (sequence 001) by defendant Chinese-American Planning
en                     Council Home Attendant Program, Inc. pursuant to CPLR 321 l(a)(4) to dismiss all claims
..,::I
0                      asserted against it with prejudice, or alternatively, without prejudice, or staying this action
l-
o                      pending resolution of a federal class action entitled Chan v. Chinese -American Planning
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0:::                   Council Home, Attendant Program, Inc., is granted solely to the extent that this matter is stayed
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                       pending the resolution of the federal class action and further order of the Court; and it is further
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::; §:                        ORDERED that plaintiffs' motion (sequence 002), for leave to submit a sur-reply to
..J z                  address arguments defendant allegedly made for the first time in reply is denied; and it is further
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u.. en
t; ~
w         0:::                 ORDERED that defendant shall serve a copy of this order with notice of entry upon all
3;        C>
w z                    parties within 20 days of entry.
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en 3:
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w ..J                               This constitutes the decision and order of the Court.
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                     Dated:           z.f /1'7 /11
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         1. CHECK ONE: .....................................................................   D   CASE DISPOSED                    ~N-FINAL 01si!&i~oN
         2. CHECK AS APPROPRIATE: •........................•. MOTION IS:                       0   GRANTED       [J DENIED   ~NTED IN PART                  :_~OTHER

         3. CHECK IF APPROPRIATE: ................................................             0   SETILE ORDER                     ::_=SUBMIT ORDER

                                                                                               ~_: DO NOT POST      ~~ FIDUCIARY APPOINTMENT         ~REFERENCE

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!FILED: NEW YORK COUNTY CLERK 04/21/2017 02: 43 PMJ                                                      INDEX NO. 651947/2016
NYSCEF DOC. NO. 61                                                                                 RECEIVED NYSCEF: 04/21/2017




        SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF NEW YORK: PART 35
        -------------------------------------------------------------------------------x
        MEI KUM CHU, SAU KING CHUNG, and QUN XIANG                                         Index No.: 651947/2016
        LING individually and on behalf of all others similarly situated,
                                                                                           Motion Seq. No. 001 and 002
                                                              Plaintiffs,
                                   -against-

        CHINESE-AMERICAN PLANNING COUNCIL HOME
        ATTENDANT PROGRAM, INC.,

                                                              Defendant.
        ------------------------------------------------------------------------------x
        HON. CAROL R. EDMEAD, J.S.C. ·

                                            MEMORANDUM DECISION

                In this class action suit, plaintiffs Mei Kum Chu, Sau King Chung, and Qun Xiang Ling

        (collectively, the "In.stant plaintiffs") allege, inter alia, violations of the New York Labor Law

        ("NYLL") and the New York Home Care Worker Wage Parity Act ("NY Parity Act") (the

        "Instant matter").

                Defendant Chinese-American Planning Council Home Attendant Program, Inc.

        ("defendant") now moves pursuant to CPLR 321 l(a)(4) to dismiss all claims asserted against it

        with prejudice, or alternatively, without prejudice, or staying thi~ action pending resolution of a

        federal class action entitled Chan v. Chinese-American Planning Council Home, Attendant

        Program, Inc. (the "Chan matter").

                 By separate motion (sequence 002), plaintiffs move for leave to submit a sur-reply to

        address arguments defendant allegedly made for the first time in reply.

                 Both motions are consolidated for joint disposition herein.

                 Factual Background

                 Prior to the commencement of this action, the Chan matter was filed against defendants



                                                               2 of 10
!FILED: NEW YORK COUNTY CLERK 04/21/2017 02:43                                               pMJ                INDEX NO. 651947/2016
NYSCEF DOC. NO. 61                                                                                     RECEIVED NYSCEF: 04/21/2017




       in Supreme Court, New York County alleging wage-related claims under the NYLL and the NY

       Parity Act. The class in Chan was.defined as "[a]ll current and former home care aides ...

       employed by [defendant] in New York to provide care services to [defendant's] elderly and

       disabled clients in the clients' homes during the period from six years preceding .the filing of the

       Complaint in this case through the present (the 'Class Period')." (i.e., March 11, 2009 through

        March 11, 2015) (Complaint~ 13). When the Chan plaintiffs later added claims under the

        federal Fair Labor Standards Act ("FLSA"), defendant removed the matter to the United States

        Southern District of New York. Upon motion by defendant, the assigned Judge Katherine B.

        Forrest ordered the parties to arbitrate the matter pursuant to a Collective Bargaining Agreement

        between defendant and 1l99SEIU United Healthcare Workers East, as supplemented by a

        Memoranda of Agreement ("MOA'') ratified in 2015 "during the pendency of [defendant's]

        motion" (the "2015 MOA''). Judge Forrest also stayed Chan matter pending arbitration (see

        Memorandum Decision and Order dated February 3, 2016). 1 The Chan plaintiffs moved for

        reconsideration, which was denied (see Memorandum Decision and Order dated April 8, 2016).

                 On April 12, 2016, the Instant plaintiffs commenced this action. Plaintiffs describe the

        putative class here as, "All home care aides ... employed by [defendant] in New York to provide

        care services to [defendant's] elderly and disabled clients in the clients' homes during the period

        .beginning from April 1, 2008 through June 1, 2015." (Complaint~ 16). Unlike the Chan



                  1 The Federal Decision noted that prior to the removal of the matter to federal court, the Supreme Court
         "denied defendant's motion to compel arbitration based on the then-operative 2014 MOA'' and that such Court's
         decision was "not preclusive of defendant's motion here because, inter alia, that court was not addressing the now
         operative 2015 MOA."
                    It is noted that Judge Forrest also rejected the Chan plaintiffs' opposing argument that the "agreement to
         arbitrate embodied in the 2015 MOA cannot apply retroactively .to claims that may have accrued prior to the
         execution of the 2015 MOA'' as "meritless." (P. 5).

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                                                                3 of 10
!FILED: NEW YORK COUNTY CLERK                     04/21/2017 02:43                PMJ          INDEX NO. 651947/2016
NYSCEF DOC. NO. 61                                                                      RECEIVED NYSCEF: 04/21/2017




        plaintiffs, the Instant plaintiffs allege claims solely under NYLL and the NY Wage Parity Act,

        and do not allege claims under FLSA.

                In May 2016, defendant removed this case to the United States District Court for the

        Southern District of New York. Defendant then moved in federal court to compel arbitration .

        under the Federal Arbitration Act based on the 2015 MOA, and the Instant plaintiffs moved to

        remand this action to state court. Judge Forrest remanded this action to this Court and denied

        defendant's motion to compel arbitration (see 2016 WL 3753098 [SDNY July 11, 2016]). It is

        noted that Judge Forrest stated, inter alia, that "Regardless of the purported retroactivity of the

        2015 MOA, and 1199's authority to bargain on behalf of then current employees, [the Instant]

         plaintiffs may not be bound by subsequently adopted amendments to a collective bargaining

         agreement to which they were not parties." (Page, 14). According to the federal decision, "Chu's

         employment concluded on approximately October 14, 2013; Chung's employment concluded on

         approximately January 18, 2013; and Xiang's employment concluded on approximately June 1,

         2015. (Compl. ~~ 24-26.) (Pages, 3-4).

                 In support of its motion, defendant argues that the Court should dismiss or, in the

         alternative, stay this action in light of the earlier-filed, pending Chan matter and to promote

         judicial economy and avoid potentially inconsistent outcomes. Chan involves substantially the

         same parties, causes of action, and remedies sought arising out of the same facts and

         circumstances. Defendant argues that the Instant plaintiffs will not be prejudiced by a dismissal,

          or a stay, since their claims herein are currently subject to the jurisdiction of the federal court and

          can be fully and fairly adjudicated in that forum.

                  In opposition, plaintiffs contend there is no substantial identity between the Instant


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                                                       4 Of 10      I
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NYSCEF Doc. No.


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                                                                                      RECEIVE         O. 651947/2016
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       plaintiffs and the Chan plaintiffs. As former employees of defendant, the Instant plaintiffs are

       not class members in Chan. And, their employment ended by June 1, 2015, prior to the signing

       of the 2015 MOA under which the plaintiffs in Chan were directed to arbitrate. Plaintiffs do not

       allege claims under any collective bargaining agreement or under federal law. Further, the Court

       should follow the law of the case established by Judge Forrest, who held that the federal court

       lacked jurisdiction over the Instant plaintiffs' claims, and that they may not be bound by the 2015

       MOA. Further, dismissal or a stay would prejudice the Instant plaintiffs since they are not parties

       in Chan and would lose their sole means of litigating their claims and protecting their rights.

              In reply, defendant contends that Judge Forrest retained jurisdiction over the Chan matter

       pending arbitration, and the Instant plaintiffs' claims are subsumed by the Chan class currently

       before Judge Forrest. Also, the Instant plaintiffs' elected bargaining representativel 199SEIU is

       party to the applicable collective bargaining agreement and took the position before the

       Arbitrator that it did not dispute that claims filed after the effective date of the 2015 MOA are

       subject to the arbitration provision contained therein. And, the Arbitrator held that "the alleged

       wage claims in Chu, which were filed on April 12, 2016, after the effective date of the 2015

       MOA, December 1, 2015, are clearly before me pursuant to the terms of the ADR Provision."

       And, defendant argues, Judge Forrest's statement regarding the 2015 MOA's applicability to

       employees no longer·employed at the time the 2015 MOA was made effective has no bearing on

       defendant's motion, and was dicta in any event; she expressly declined to consider the language

       of the 2015 MOA. Further, the Instant plaintiffs will not be prejudiced by either a dismissal

       without prejudice or a stay where they can later resume litigation of their claims, whereas

       defendant would otherwise have to defend both cases simultaneously in two different courts.


                                       5   Of   10      4
!FILED: NEW YORK COUNTY CLERK                     04/21/2017 02: 43 PMJ                        INDEX NO. 651947 /2016
NYSCEF DOC. NO. 61                                                                       RECEIVED NYSCEF: 04/21/2017




               Discussion

               CPLR 3211(a)(4) states that a "party may move for judgment dismissing one or more

       causes of action asserted against him on the ground that: ... there is another action pending

       between the same parties for the same cause of action in a court of any state or the United States;

       the court need not dismiss upon this ground but may make such order as justice requires."

       · "The court has broad discretion to dismiss an action on the ground that another action is pending

       between the same parties arising out of the same subject matter or series of alleged wrongs, and it

       is inconsequential that different legal theories or claims were set forth in the two actions" (Shah

       v. RBC Capital Markets LLC, 115 A.D.3d 444, 981N.Y.S.2d524 [I st Dept 2014]).

               Inasmuch as the Instant plaintiffs allege that defendant failed to pay them in accordance

       with the NYLL and NY Wage Parity Act, the instant matter involves identical factual issues to

       the Chan matter. The plaintiffs in Chan allege seven claims: (1) unpaid minimum wage in

       violation of the NYLL; (2) unpaid overtime in violation of the NYLL; (3) unpaid spread-of-hours

       pay in violation ofthe NYLL; (4) failure to pay wages in violation of the NYLL; (5) failure to

      . comply with notification requirements in violation of the NYLL; (6) breach of contract in

       relation to defendant's representations concerning the NY Wage Parity Act; and (7) unjust

       enrichment related to the NY Wage Parity Act.     (Complaint,~~    50-79). These are the same

       allegations asserted in the Instant matter (Complaint, ~~ 68-98). Thus, except for claims under

       the federal law, the Instant plaintiffs are seeking identical relief in this action as the Chan

       plaintiffs.

               However, although, the (federal) complaint in Chan is subsumed in the Instant matt~r, the

       Instant matter, which covers a class of employees employed from April I, 2008, is not covered


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                                                        6 of 10
!FILED: NEW YORK COUNTY CLERK 04/21/2017 02:43 PMJ                                                                INDEX NO. 651947/2016
NYSCEF DOC. NO. 61                                                                                      RECEIVED NYSCEF: 04/21/2017




        by the period of claims arising on or after March 11, 2009 as alleged in the Chan matter.

        Therefore, despite the Arbitrator's asserted jurisdiction over the the Instant plaintiffs' claims, the

        instant "pre-Chan class" claims therefore cannot be litigated in the federal action. There exists a

        segment of putative class members in the Instant matter (i.e., employees from April 1, 2008

        through March 11, 2009) that is not included in the Chan matter. 2 In this regard, defendant's

       reliance on Sinopodis v. Nicholas Cosmo, Agape World, Inc. (2010 WL 1536289 (N.Y.Sup.),

       2010 N.Y. Slip Op. 30837(U) (Trial Order) [Supreme Court, Commercial Division, Suffolk

       County 201 O]) is misplaced. In Sinopodis, the federal action related to an alleged Ponzi scheme

       that commenced "in 2003 through [defendant's] arrest January 19, 2009" and the State class

       action defined the class as consisting of "all New York domiciliaries who invested money in

       supposed loans brokered by [defendant] at any time from October 2003 to January 2009 .... "

       Thus, the Court found a substantial identity between the parties in both actions given that the

       definition of the class in the state action (i.e., 10/2003 - 1/2009) was subsumed within the

       definition of the class in the federal action (i.e., 2003 - 1/19/2009). However here, the definition

       of the class in the Instant (state) action (4/1/2008 - 6/2015) is not completely subsumed within

       the definition of the class in Chan (federal) (311112009-current). The remaining cases cited by

       plaintiffs are likewise di.stinguishable. As such, there is not a substantial identity of parties to


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                  Ce/lino & Barnes, P.C. v Law Off. of Christopher J. Cassar, P.C., 140 A.D.3d 1732, 35 N.Y.S.3d 606 [
       4th Dept 2016] (Denial of dismissal appropriate where there was "no common parties to either action nor the
       requisite substantial identity ofparties")). Cellino does not require "one plaintiff and one defendant" common in
       each action as plaintiffs purport. Instead, when read in full context, Cellino indicates that a substantial identity of
       parties "generally is present when at least one plaintiff and one defendant is common in each action'" (emphasis
       added). (Proietto v Donohue, 189 A.D.2d 807, 592 N. Y.S.2d 457 [2d Dept 1993 ], Morgu/as v Yudell Realty, 161
       A.D.2d 211, 554 N.Y.S.2d 597 [I" Dept 1990]).
                 Nevertheless, because the Instant plaintiffs have claims that fall outside of the class definition in Chan, it
       cannot be said that they are "substantially identical" to the plaintiffs in Chan to merit dismissal.
!FILED: NEW YORK COUNTY CLERK 04/21/2017 02: 43 PM!                                          INDEX NO. 651947/2016
NYSCEF DOC. NO. 61                                                                     RECEIVED NYSCEF: 04/21/2017




        merit dismissal of this Action pursuant to CPLR 321 l(a)(4). Sprecher v. Thibodeau, --- N.Y.S.3d

        ----, 2017 WL 1168081 [1st Dept 2017] (finding dismissal unwarranted where defendant was

        named in both actions, but there was no overlap in plaintiffs")).

               And, in light the fact that a segment of potential class members in this Instant matter falls

       outside of the definition of the class in the Chan matter, a determination in the federal action will

        not necessarily determine and dispose of all the issues in both actions. Thus, dismissal of this

       action is unwarranted .

             . However, CPLR 2201 permits the Court to "grant a stay of proceedings in a proper case,

       µpon such terms as may be just." To the degree an overlap in the facts and claims exist in both

       actions, the Court finds that both actions involve the same subject matter or series of alleged

       wrongs. And, to the degree an overlap exists among potential class parties in both actions, a

       substantial identity of parties exists as to such overlapping parties, however, solely for purposes

       of a stay of this Instant matter pursuant to CPLR 2201. Although "a stay pending determination

       of a related proceeding should be granted only when the other proceeding shares complete

       identity of parties, claims and relief sought ... [it has been also] held that a stay may be

       warranted when there is substantial identity between state and federal actions" (Asher v. Abbott

       Laboratories, 307 A.D.2d 211, 763 N.Y.S.2d 555 [2003]).

               In the interest of"comity, orderly procedure, and judicial economy," a stay of the Instant

       matter is warranted (see Asher v. Abbott Laboratories, supra at 211-212) granting a stay of a state

       proceeding where defendants in both actions were the same, there was "substantial overlap

       between the issues raised in the two proceedings," the state claims were encompassed within the

       federal class action, "the federal action will result in a more complete disposition of the basic


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                                                       8 of 10
!FILED: NEW YORK COUNTY CLERK 04/21/2017 02: 43 PM!                                             INDEX NO. 651947/2016
NYSCEF DOC. NO. 61                                                                        RECEIVED NYSCEF: 04/21/2017




        antitrust issues alleged," a stay will "avoid duplication of effort and waste of judicial resources"

        and "plaintiffs have not demonstrated how they would be prejudiced by a stay of discovery in the

        state proceedings")). Although the record establishes that plaintiffs would be prejudiced by any

        dismissal of the Instant matter, plaintiffs failed to sufficiently establish any prejudice that would

        result from a stay of the Instant matter.

                As to the motion for leave to submit a sur-reply, plaintiffs aver that defendant made a new

        argument in reply when it stated that it "will be immediately and substantially prejudiced if it is

        required to simultaneously litigate two identical claims against virtually two virtually identical

        plaintiffs' classes." Plaintiffs also assert that defendant argued for the first time that a stay is

        warranted because arbitration would reduce the issues presented. And, defendant submitted

        "new facts" to wit: (1) defondant's April 19, 2016 letter to the Arbitrator (E-Doc. 25), (2)

        1199SEIU's May 13, 2016 response (E-Doc. 26), and (3) the Arbitrator's October 25, 2016

        Opinion and Award (E-Doc. 27). In opposition, defendant claims that it simply restated an

        argument previously made in its initial moving papers, submitted evidence that merely reinforced

        arguments previously made, and that any sur-reply should be limited to defendant's reference to

        the Arbitrator's Award and subject to defendant's ability to submit a sur-sur-reply. In response,

        plaintiffs insist that defendant never claimed that,it would suffer any prejudice, or any immediate

        and substantial prejudice. Instead, defendant only argued that plaintiffs would not suffer

        prejudice. Plaintiffs add that defendant's April 19, 2016 letter and 1199 SEIU's May 13, 2016

        response were in defendant's possession when its filed its motion, and could have been submitted

        at that time.

                Given that the Court's decision herein is not premised on any of the purported "new"


                                                            8



                                                         9 of 10
!FILED: NEW YORK COUNTY CLERK 04/21/2017 02: 43 PMJ                                              INDEX NO.     651947/2016
NYSCEF DOC. NO .. 61                                                                     RECEIVED NYSCEF:      04/21/2017




        evidence submitted by defendant in reply, any alleged prejudice to defendant in having to defend

        the claims in two forums, or on whether the Arbitration would reduce the issues presented, leave

        to submit a sur-reply is denied.

               Conclusion

               Based on the foregoing, it is hereby

               ORDERED that the motion (sequence 001) by defendant Chinese-American Planning

        Council Home Attendant Program, Inc. pursuant to CPLR 321 l(a)(4) to dismiss all claims

        asserted against it with prejudice, or alternatively, without prejudice, or staying this action

        pending resolution of a federal class action entitled Chan v. Chinese -American Planning

        Council Home, Attendant Program, Inc., is granted solely to the extent that this matter is stayed

        pending the resolution of the federal class action and further order of the Court; and it is further

               ORDERED that plaintiffs' motion (sequence 002), for leave to submit a sur-reply to

        address arguments defendant allegedly made for the first time in reply is denied; and it is further

               ORDERED that defendant shall serve a copy of this order with notice of entry upon all

        parties within 20 days of entry.

               This constitutes the decision and order of the Court:·



        Dated: April 17, 2017
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                                                       Hon. Carol Robinson Edmead, J.S.C.

                                                       HON.CAAOLR.EDMEAD
                                                                                       J.S.C,




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                                                        10 of 10
